       Case: 3:16-cv-00617-wmc
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                           68 Filed        #: 1-1
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 THIS ORDER IS SIGNED AND ENTERED.




 Dated: August 22, 2016                                  _____________________________
                                                               Hon. Robert D. Martin
                                                          United States Bankruptcy Judge
 ________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF WISCONSIN
  ______________________________________________________________________________

         In Re: Steven R Lisse                            Bankruptcy No. 16-10935-13


  ______________________________________________________________________________

                               ORDER OF DISMISSAL
  ______________________________________________________________________________


     The Court having reviewed the file finds that no Plan meeting the requirements of Chapter 13 of
  Title 11, United States Code has been presented: and further finding that no cause has been shown
  why this case should not be dismissed;

     IT IS THEREFORE ORDERED that this case be and the same is hereby dismissed under USC
  1307 (c) without prejudice for want of prosecution, or because no Plan has been confirmed.

     IT IS FURTHER ORDERED that, unless previously paid in full, all fees related to the above-
  entitled case are due and owing. Motions for reconsideration of this order of dismissal will not be
  entertained by the Court unless all unpaid fees are paid at the time the motion is made.

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